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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

Timothy Tangen,
                 Plaintiff,

        v.
                                                          C/A No.: 6:21-cv-00335-JD
Fluor Intercontinental, Inc., et al.,
                 Defendants.



Marissa Brown,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01427-JD

Fluor Intercontinental, Inc., et al.,
                 Defendants.


Shelby Iubelt, individually, on behalf of the
Estate of Tyler Iubelt, and as next friend of
V.I., minor,
                                                          C/A No.: 6:21-cv-01420-JD
                 Plaintiff,

        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


Lakeia Stokes,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01086-JD

Fluor Intercontinental, Inc., et al.,
                 Defendants.



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Maggie Bilyeu,
                Plaintiff,

        v.
                                                          C/A No.: 6:21-cv-01078-JD
Fluor Intercontinental, Inc., et al.,
                Defendants.


Addie Ford,
                Plaintiff,

        v.                                                C/A No.: 6:21-cv-01159-JD

Fluor Intercontinental, Inc., et al.,
                Defendants.


Marvin Branch,
                Plaintiff,
                                                          C/A No.: 6:21-cv-01083-JD
        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.


Julianne Perry, individually, on behalf of the
Estate of John Perry, and as next friend of L.P.
and G.P., minors,
                Plaintiff,                                C/A No.: 6:21-cv-01250-JD

        v.

Fluor Intercontinental, Inc., et al.,
                Defendants.
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Haylee Rodriguez,
                 Plaintiff,
                                                          C/A No.: 6:21-cv-01084-JD
        v.

Fluor Intercontinental, Inc., et al.,
                 Defendants.


India Sellers,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01085-JD

Fluor Intercontinental, Inc., et al.,

                 Defendants.

Samuel Gabara,
                 Plaintiff,

        v.                                                C/A No.: 6:21-cv-01007-JD

Fluor Intercontinental, Inc., et al.,

                 Defendants.


Chris Colavita,
                 Plaintiff,

        v.
                                                          C/A No.: 6:21-cv-01017-JD
Fluor Intercontinental, Inc., et al.,
                 Defendants.
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 Robert Healy,
                 Plaintiff,
                                                              C/A No.: 6:21-cv-01018-JD
         v.
                                                             DEFENDANTS FLUOR
 Fluor Intercontinental, Inc., et al.,                  INTERCONTINENTAL, INC. AND
                                                         FLUOR GOVERNMENT GROUP
                 Defendants.
                                                           INTERNATIONAL, INC.’S
                                                       RULE 12(B)(1) MOTION TO DISMISS




        Defendants Fluor Intercontinental, Inc. and Fluor Government Group International, Inc.

(collectively, “Fluor”), by and through their undersigned counsel and pursuant to Federal Rule of

Civil Procedure 12(b)(1), hereby move this Court for an order granting their motion to dismiss the

Plaintiffs’ Complaints (“Motion”). This Motion is made on the grounds that the Court lacks subject

matter jurisdiction over Plaintiffs’ claims, for two separate and independent reasons. First, these

suits are barred based on the political question doctrine. Under Fourth Circuit precedent, the claims

should be dismissed because the Military exercised “control” over the challenged conduct and,

separately, because “national defense interests” were intertwined with the Military judgments

governing Fluor’s conduct. Further, these suits offend fundamental principles of separation of

powers under Supreme Court precedent. Second, Plaintiffs’ claims are barred by the South

Carolina Door Closing Statute, S.C. Code Ann. § 15-5-150, because Plaintiffs are nonresidents of

South Carolina, Defendants are foreign corporations, and all challenged conduct occurred in a

foreign country. This Motion is supported by the applicable law, the pleadings in this action, and

the memorandum filed in support and served herewith.

                                         [SIGNATURE PAGE FOLLOWS]
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                               Respectfully submitted,

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                                         Fluor Government Group International, Inc.
July 30, 2021
Greenville, South Carolina
